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P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                          )
                                                  )
                            vs.                   )      Docket Number: 1:93CR05021 002 OWW
                                                  )
Stephen Donald Kosinski                           )
                                                  )


On August 26, 2006, the above-named was placed on supervised release for a period of 10
years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                    Respectfully submitted,

                                    /s/ Melinda Peyret

                                    Melinda S. Peyret
                          Senior United States Probation Officer

Dated:         07/16/2007
               Fresno, California
               MSP:mb

REVIEWED BY:            /s/ Bruce Vasquez
                     Bruce A. Vasquez
                     Supervising United States Probation Officer




                                                                                                         R ev. 05/2006
                                                              E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
           Case 1:93-cr-05021-LJO Document 240 Filed 08/01/07 Page 2 of 2


Re:   STEPHEN DONALD KOSINSKI
      Docket Number: 1:93CR05021 002 OWW
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.

IT IS SO ORDERED.

Dated: July 31, 2007                        /s/ Oliver W. Wanger
emm0d6                                 UNITED STATES DISTRICT JUDGE




                                                                                                       R ev. 05/2006
                                                            E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
